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                                    MONEX DEPOSIT COMPANY and MONEX
                           7        CREDIT COMPANY
                           8                               UNITED STATES DISTRICT COURT
                           9                                          CENTRAL DISTRICT
                       10                                 (SOUTHERN DIVISION – SANTA ANA)
                       11
                       12           MONEX DEPOSIT COMPANY, et al.,               Case No. 8:09-CV-00287-JVS-RNBx
                       13                            Plaintiffs,
                                                                                 FINDINGS OF FACT,
                       14           v.                                           CONCLUSIONS OF LAW, AND
                                                                                 PRELIMINARY INJUNCTION
                       15           JASON GILLIAM, et al.,
                                                                                 Time:     3:00 p.m.
                       16                            Defendants.                 Date:     April 7, 2009
                                                                                 Location: Courtroom 10C
                       17
                                                                                 The Hon. James V. Selna
                       18
                       19
                                          The Court has read all documents submitted in support of, in return to, and/or
                       20
                                    in opposition to entry of the temporary restraining order, the order to show cause,
                       21
                                    and/or the preliminary injunction. The Court also has considered all other
                       22
                                    evidence, documents, and argument of counsel and of pro se parties. Based on the
                       23
                                    foregoing material, and the entire file in this civil action, the Court finds that good
                       24
                                    cause exists to grant the preliminary injunction described in the Order to Show
                       25
                                    Cause.
                       26
                                          The Court finds the following facts:
                       27
                                          1.     A number of customers and potential customers of Monex Deposit
                       28
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                           1        Company and Monex Credit Company (collectively, “Monex”) have decided not to
                           2        do business with the company because of what they have read about Monex on
                           3        websites operated by or contributed to by defendants Jason Gilliam, Richard
                           4        Gilliam, and Steven Bowman (collectively “defendants.”) Those websites include
                           5        www.MonexFRAUD.com.
                           6              2.     Defendants have threatened to publish additional negative material
                           7        about Monex on www.MonexFRAUD.com and to report Monex’s activities to
                           8        government and the news media, and to continue to do so, unless Monex pays them
                           9        $20 million. Defendants’ statements were not protected communications under
                       10           California Civil Code Section 47(b), in that (a) the statements were not made as a
                       11           demand with an intent to proceed with litigation; and (b) defendants did not
                       12           represent and did not have a relationship with the vast majority of investors whom
                       13           they purported to represent. To the extent that a facial threat of RICO litigation
                       14           may be deemed within the scope of Section 47(b), defendants nevertheless
                       15           threatened other conduct not within the scope of the privilege and not related to the
                       16           litigation process.
                       17                 3.     Since the Court’s March 24, 2009 Order, the Webhost GoDaddy has
                       18           removed defendants MonexFRAUD website, advising the parties that GoDaddy
                       19           would revisit the issue after this Court ruled on the Order to Show Cause for a
                       20           Preliminary Injunction.
                       21                 4.     Other websites operated by or contributed to by defendants publishing
                       22           negative material about Monex remain in operation.
                       23                 5.     Since this Court’s March 24, 2009 Order in this matter, defendants
                       24           have not retracted their extortionate demands or their threats: (a) to publish
                       25           additional negative material about Monex on www.MonexFRAUD.com and other
                       26           websites, (b) to report Monex’s activities to government and the news media, and
                       27           (c) to continue to do so, unless Monex pays them $20 million.
                       28                 6.     Also since this Court’s March 24, 2009 Order defendant Jason Gilliam
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                           1        has testified that his mission short of compelling Monex to pay his extortionate
                           2        demand of $15 million (his father defendant Richard Gilliam demanded $20
                           3        million) was to completely destroy Monex through a relentless marketing and
                           4        awareness campaign to persuade Monex customers and potential customers to
                           5        avoid transacting business with Monex, and to consider instead investing with
                           6        Monex’s competitors.
                           7              7.     Also since this Courts’ March 24, 2009 Order, defendant Jason
                           8        Gilliam has again stated that he wants $15 million from Monex.
                           9              8.     Jason Gilliam has testified that his damages flowing from the shut
                       10           down of the MonexFRAUD cite are injury to his pride, credibility and morale.
                       11           Richard Gilliam has testified that he’d prefer the site remain shut down. Since the
                       12           March 24, 2009 Order, Monex has deposited $20,000 cash with the Clerk of the
                       13           Central District.
                       14                 9.     Defendants are likely to continue publishing negative material on those
                       15           websites, including www.MonexFRAUD.com, at least if web-services provider
                       16           GoDaddy.com reinstates the website, and to keep their extortionate threats in place
                       17           because Monex has refused to pay them.
                       18                 10.    The websites, and particularly the resurrection of the
                       19           MonexFRAUD.com website, are likely to harm Monex immediately by damaging
                       20           its reputation, customer relationships, business, revenues, and goodwill.
                       21                 11.    Such harm will not be compensable through money damages because
                       22           the amount of damage will not be determinable with sufficient precision.
                       23                 12.    Defendants will not suffer any cognizable harm if they are enjoined
                       24           from extorting, and attempting to extort, money from Monex by means of
                       25           threatening to publish — and then publishing — negative statements about Monex.
                       26                 13.    Defendants will not suffer any cognizable harm if they are
                       27           preliminarily enjoined from running their websites pending a judgment in this
                       28           action.
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                           1              14.    All defendants plaintiffs received actual notice of the Order to Show
                           2        Cause.
                           3              15.    Defendant Steven Bowman has not responded to the Order to Show
                           4        Cause or to any other emailed communications from plaintiffs or defendants.
                           5              The Court makes the following conclusions of law:
                           6              1.     Plaintiffs have a reasonable probability of success in this action on one
                           7        or more theories which would support injunctive relief, including defamation,
                           8        extortion, trade libel, and interference with contract and with economic advantage.
                           9              2. To the extent that defendants’ statements about Monex are fraudulent,
                       10           they are not protected by the First Amendment. San Antonio Community Hospital
                       11           v. Southern California District Council of Carpenters, 125 F.3d 1230, 1239 (9th Cir.
                       12           1997); see Peel v. Attorney Registration and Disciplinary Comm'n of Ill., 496 U.S.
                       13           91, 107 n. 14 (1990); Gehl Group v. Koby, 63 F.3d 1528, 1534 (10th Cir.1995).
                       14           As the California Supreme Court has noted: “The policy of this state which
                       15           characterizes the use of false or fraudulent statements in picketing as unlawful is
                       16           within the permissible limits which a state may impose upon industrial combatants
                       17           without impairing the right of free speech.” Magill Bros., Inc. v. Building Serv.
                       18           Employees’ Int'l Union, 20 Cal.2d 506, 127 P.2d 542, 545 (1942) (citing Thornhill
                       19           v. Alabama, 310 U.S. 88, 1043 (1940)).
                       20                 3.     The balance of equities in considering entry of a preliminary
                       21           injunction tips in Monex’s favor. There is no apparent economic or other harm
                       22           which defendants will sustain if injunctive relief is granted.
                       23                 4.     This preliminary injunction is in the public interest.
                       24                 IT IS ORDERED THAT:
                       25                 A.     Defendants and anyone acting in concert with them or on their behalf
                       26           ARE HEREBY RESTRAINED AND ENJOINED FROM:
                       27                        i.     Any efforts to extort consideration from Monex, including any
                       28                 efforts to persuade Monex to pay defendants money which directly or
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                           1              indirectly involves: (1) threats against Monex or its employees to publish in
                           2              any forum or to share information about Monex with third parties, or
                           3              (2) threats to defame Monex or its employees, unless Monex pays
                           4              defendants.
                           5                     ii.    Operating, directly or indirectly, www.MonexFRAUD.com. or
                           6              any other website address using the name Monex in combination any
                           7              modifier which implies illegal, unlawful or unethical conduct.
                           8                     iii.   Publishing or republishing on any website, including, but not
                           9              limited to, www.MonexFRAUD.com, www.youtube.com, http://digg.com,
                       10                 http://goldismoney.info, and http://americannepali.blogspot.com, or in any
                       11                 other manner any statement that Money does not have title to or the ability to
                       12                 deliver precious metals sold under contract to any Monex customer; that
                       13                 Monex was expelled from the National Futures Association for fraud; that
                       14                 Monex oprates as a boiler room; that Monex violates any federal or state
                       15                 statutes regulating the business operations of Monex; that Monex has been
                       16                 charged by the Internal Revenue Service with tax evasion; and that Monex
                       17                 fails to accurately disclose to customers account and trading terms
                       18                 (collectively “Prohibited Statements”). This part of the order requires
                       19                 defendants to remove, from any website over which they have sufficient
                       20                 control, all Prohibited Statements that they have published or republished
                       21                 there, and to stop using the word MonexFRAUD, all within 24 hours of the
                       22                 entry of this preliminary injunction. Notwithstanding any other provision of
                       23                 this Order, nothing herein shall prohibit defendants from (a) making
                       24                 statements regarding their own business dealings with Monex, including any
                       25                 losses they may have sustained, or (b) communicating with any
                       26                 governmental entity concerning matters within the scope of that entity’s
                       27                 legislative, administrative or regulatory responsibilities.
                       28                        iv.    Disclosing or using directly or indirectly in any way any trade
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                           1                secret documentation or other proprietary information belonging to Monex,
                           2                including all internal Monex documents which are not public, such as Monex
                           3                customer lists.
                           4                        v.       Retaining any trade secret or proprietary information referred to
                           5                in the last paragraph. To implement this part of the Order, defendants must
                           6                disclose to and return to Monex within 48 hours of entry of this Order all
                           7                such information and documentation within defendants’ possession, or within
                           8                possession of anyone within defendants’ control. To the extent that
                           9                defendants once had possession of such documentation, but no longer have
                       10                   possession, defendants must within 48 hours also inform Monex’s counsel in
                       11                   writing and in specific and sufficient detail: (1) all efforts defendants have
                       12                   made to re-acquire such documentation; (2) what became of such
                       13                   documentation, including the time and date the defendant lost control of the
                       14                   documentation; and (3) who presently has possession of this documentation
                       15                   so that Monex can take steps to recover the documentation.
                       16                   B.      This order shall be effective as soon as plaintiffs or either of them
                       17           properly have posted a bond in the amount of $20,000.
                       18
                       19           Dated:       April 09, 2009
                       20           Time:        9:45 a.m.
                                                                                   By:
                       21                                                                U.S. DISTRICT COURT JUDGE
                       22
                       23
                       24
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